Case 4:23-cv-01695 Document 1-1 Filed on 05/08/23 in TXSD Page 1 of 13




            Exhibit A
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                                      2023-16557 / Court: 61                                                                         By: Monica Jackson
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                                        Harris District Clerk - Civil Petition



  AMID. YOUNs'—TREZVANT                                           IN THE HARRIS DISTRICT CLERK                            CIVIL. TEXAS

  Pla€.ntiff

  vs                                                                       CASE NO.


  LONE STAR COLLEGE
 Defendant



                                                CIVIL PETITION

       L          The Parties to This Petition

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 PiaintifE Amia Young-Trezvant
 Address: 11,25o Mason Road Apartment 14203
 Citr Cypress          State: Texas       Zipeode: 77433
 E-Mail Address: ainiayoung@yahooxem

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 Defendant Lone Star College
 Address.: 5000 Research Forest Dr,
 City: The Woodlands         State: Texas                                       Zipeodez 77381

 Defendant frWly he Serf.wib      ewe           Sonia C. Lopez, Assistant General Counsel

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 500o Research Forest Dr. The. Woodlands, Texas 77381
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                 Basis for Jurisdiction

                                              (Skit!? Ihf' Sttt£yatr"S tai   OM at iAtte in this case)




 Statutes Title V., Chapter 554, Title IX, under the laws in the State of Texas, it is
 unlawful for an individual to make deliberate statements that intend to harm a
 person's reputation without factual evidence or based on hearsay. it is also unlawful
 when employees are subjected to a pattern of unwanted harassment. behavior that
 intimidates, ostracizes, threatens (psychologically or physically), embarrasses,
 ridicules, unreasonably overburdens or precludes employees from. reasonably
 performing their work. Quid pro quo harassment and hostile work environment
 harassment are unlawful harassment.. dditionally, an employer may not tire, demote,
 harass or otherwise retaliate against an individual for submitting a complaint.
 Educational institutions have a responsibility to protect employees rights to work in a
 safe environment free from unlawful discrimination, harassment, and retaliation as
 well as to prevent unjust deprivations of that right.



      III.        Cause of Action

   Mate the cause Q#` action i t pPi'in anti CZNIfiSe Lung/Jaye, snifkient 'o give fair notice of £lie tlann and to provide enough
   i,tfartnotion tfs eatable the dtlendant to prep= a atfense. nu troy irstlude infiumatitm 410tEting venue ig prill0' in the
 Harry District aenk - Civil Lai. e£ri3ir Z Yam are       4*.if are ,,azkirtq 1.tersonalproperty, t,k-n4 most skscrale the property and
                                                    &late the mite t-fiamp-Tv...1y.)


 It is my contention that in addition to Lonestar College Cyfair being unjustly enriched,
 Lonestar College Cyfair's failure to address the matter constitutes a negligent
 misrepresentation; negligence; gross negligence and fraud; and constitutes false,
 misleading and deceptive acts and practices in violation of the violations of the TEX,
 BUS. & COMM. CODE § 17.46 €b'), 17-50(a); breach of the duty of good faith and fair
 dealing; and overall breach of Lonestar College Policy IV.E. I have obtained
 information about my legal rights and Lonestar College Cyfair is also in violation of
 my rights under Tide IX and Chapter 55.4 due to the .followirt& Wrongful Termination,
 Harassment, Discrimination, and Retaliation. According to the terms outlined in the
 employee handbook, an employee must be given several warnings before they can be
 dismissed. With that being said, I was not given any prior warnings and was promptly
 fired on February 21, 20-23 I understand that the state of Texas gives way to
 employment being "at will" however, discrimination, retaliation, or a breach of
 contract is illegal.
 Under the laws in the State of Texas, it. is unlawfW for an individual to make deliberate
 statements that intend to harm a person's reputat€on without factual evidence or based
 on hearsay. It is also unlawful when employees are subjected to a pattern of unwanted
 harassment behavior that intimidates, ostracizes, threatens (psychologically or
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 physically), embarrasses, ridicules, unreasonably overburdens or precludes employees
 from reasonably performing their work. Quid pro quo harassment and hostile work
 environment harassment are unlawful harassment. Additionally, an employer may not
 fire, demote, harass or otherwise retaliate against an individual for submitting a
 complaint. Educational institutions have a -responsibility to protect employees rights to
 work in a safe environment free from unlawful discrimination, harassment., and
 retaliation as well as to prevent unjust deprivations of that right. Lone Star College is in
 violation of such rights. Please see the following:

 1)     Before and following the filing of my original complaint on September 14, 2022,
 Lone Star College allowed manager Diona West to continue to harass me, treat me
 differently because of my age, and take. other negative actions against me.
 2)     On December 21, 2021, Diona West called me several times during the holiday
 break. She insisted that I return her call her, as it is "mandatory" that I work during the
 holiday break. I then received a very aggressive email from her. The tone in her email
 was coerce and lacked respect. I know sometimes entails can be misinterpreted, but I'm
 almost certain this wasn't the case. Due to all of the confusion, I reached out to Human
 Resources to gain clarification on a lot of questions I had at hand. Not only did HR clear
 up the matter, but they corrected Diona as well..
 3)     On January '4, 202,2, we had a monthly circulation meeting. Towards the end of
 the meeting, Diona Shared childhood memories and stated the following: "Growing up,
 I use to act fake rich like Amia." This was completely inappropriate and comments like
 these should never be made. MI eyes were on. me in that moment, and it made me
 extremely uncomfortable.
         €yn March 24, 2022, Diona West called me into her office to discuss why I called
 in sick a couple days prior. I informed her that I had an asthma attack and was admitted
 into the hospital. She continued to question the truthfulness of my claims, whiCh made
 me extremely uncomfortable. Getting reprimanded for calling in due to me having an
 asthma attack was appalling.
 5)      On May 26, 2022, Diona West: called a meeting, in which had to be split into two
 groups, When the second group returned from the meeting, several coworkers of mine
 stated that she spread false rumors about me. This behavior contributed to harassment
 as it pertains to Diona West creating such a. hostile work environment.
 6)      On August   22, 20.22,   we had a circulation meeting. During this meeting raises
 were brought to our attention. A coworker of mine stated the following: "Wow, Amia
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 you could really benefit. from getting a raise?' amain, this is completely inappropriate.
 Nona laughed at the comment Her reaction made it clear that she encouraged this type
 of behavior towards me. She actually initiated and welcomed it when she made the
 "rich" statement I previously mentioned at a previous meeting.
 7)      On September 13, 2022,1 received an email from [Mona regarding "expectations
 for taking time off." After working as a Full-Time employee for nearly a year now, I'm
 well aware of how reporting time works. At this point in time, 1 feel as though she's
 trying to think of methods to fire me, which is a form of harassment. This incident
 caused me to contact Human Resources once again to clarify things.
 8)      On October September 28,2022, I met with Rebecca. Morales and Crystal Martin,
 along with my witness, to discuss and initiate an investigation.
 9)      On November t, 2022,1 received a letter from HR stating that the investigation
 was complete, but there was no resolve or communicated outcome.
 10)     October t7, 2022, 1 had to file a police report with the campus police regarding
 my vehicle mysteriously being hit in the parking lot while I was inside of the building
 and my oar was parked.
 11)     On October   28, 3022,   Diona began sending emails, creating false accusations
 against me.
  12)    On November     I, 2022,   Diana continued to harass me via email, in fact, the
  harassment worsened after receipt of fIR's invest€gatio.n determination (there was no
  determination included in the letter rece€vedl.
  13)    On November t., 2022, Diona doubled up on the harassment, by spamming a sae:
 with emails regarding my leave of absence the week before.
 14)     On November to, 3022, Grievance was submitted to Dr. Matthew Dempsey (Dr.
  Dempsey). On November to,         2022, Dr.   Matthew Dempsey did not proceed with
  Grievance on the basis of section Piino that he stated mentions, "employees must
 attempt to resolve this informally with my supervisor?" I found this to be quite disturbing
 as my supervisor was the one harassing me. He went on to mention that he did not see
  my attempts to resolve the matter with Diana on my timeline and to provide him with
  documentation of such attempt before he could proceed with next steps.
  15)    On November 4, 2022, Notified President Valerie Jones of my concerns.
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 16)      On. Decem€zer 7, 2on, I initiated a request for mediation with the Dispute
 Resolution Center.
 17)      On December 9, 2O22, Diona West declined media€ion.
 1$)      On January 2.5, 2023, Second Notification was entailed to Dr. Dempsey and
 President Valerie Jones regarding more concerns and Diona's refusal to attend
 mediation.
 19)      On February 13, 2023, Notified Dr. Dempsey and President Valerie Jones on the
 most recent incident regarding the attempt to withhold my cell phone/home access key
 that was left in the "secure room." Since there were no managers onsite, a librarian, and
 campus police were called to try to attempt to retrieve my cell phone, it wasn't until it
 escalated to the campus police, Diona West decided to show up to unlock the door so
 that I could retrieve my cell phone. The detailed event was entailed to both Dr. Dempsey
 and President Valerie Jones
 :20)     On March 1, 2023, Lone Star College acknowledged receipt of my demand letter
 dated February 14, 2023 and declined my settlement offer.


        IV.   Relief Requested


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                                        damages are SWOO.OOO,OO

 I contend that Lone Star College is liable for allowing Diona West to participate in
 defamation., harassment, and retaliation against me. Her multitude of actions has
 definitely held me up to scorn, hatred, ridicule, disgrace, and contempt in the minds of
 my former co-workers and fellow citizens within my community. My damages are as
 follows:

 1.ost Wages (Pre-incident earning times the years employed and missed plus lost salary
 from anticipated raise) $225,000.00
 Loss of Benefits $2 343;..OO
 Current & Future Medical and Counseling Bills Sn6,034,00
 Cost of Joh Searches (hotel and transportation costs for interviews) = $1,OOo,tx1
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  Pain & Suffering (Depression, Anxiety, and PTSD diagnosis as a direct result of this
  entire situation, mental anguish, emotional distress, and public humiliation)
  $5oo,000zo
  Compensatory Damages (Hostile work environment, inappropriate harassment was
  subjecwd to) S133,233.00
  Consultation Fees for Lega€ Advice w. Sboamoo
  Telat= 4000,4100.00

       V.        Certification and Closing


  by signing below, I certify €o the best. of my knowledge, information, and be€ief that
  this c.omplainc (t) is not being presented for an improper purpose, such as to harass,
  cause unnecessary deiay or needlessly increase €he cost of €itiigationt (2) is supported
  by existing law or by a nonfrivolous argument for extending, modifying, or reversing
  existing €aw; (3) the factual contentions have evidentiary support or, if specifically so
  identified, will like€y have evidentiary support after a reasonable opportunity for
  fur€her investigation or discovery; and (4) the complaint otherwise complies with the
  requirements of Rule n.

  I dec€.are £or certify, verify, or state) under pena€ty of perjury under the €a.ws of the
  United States of America t it the foregoing is true and correct.


  Respectful€y submiody


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    Sian          ph21    2:fr (tr   PlairzOirs AIterney nikvottl.                        Ms/MI.1, otne
  Address; nzio Mason Road A artment 203 :,v .ress, TX
  Telephone: 281.967.944o
  E-Mail Address: amiayoung@yahooxorn
  Ploinziff croksents to t€;e e-ttta seroke 4 Ohe answer and tarry other onotom air pl'eadiltyiw thixe nod zoloYe,:,-;




        VI.       Certificate of Service

  I hearby certify that a true and correct copy of the forgoing instrument has been
  forwarded by EFile to each attorney/party of record €isted be€ow on this tenth day of
  March 2023;
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                  DEFENDANT:                                         PLAINTIFF:
Sonia C. Lopez                                     Amin Young-Tmzvant
Lone Star Collage                                  112.50 WWII Road Apt, Lon3 Cypress, TX 77433
5000 Research Forest Dr The Woodlands, TX 773&     281..967N9440
832.813.6584                                       amiayounggyaboa.com
soniadopez@lonmtar.edu




          S1'911(3,14.11' of&FlOirag Pro SePariy                         Date
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 73666243
Filing Code Description: Petition
Filing Description: Harris District Clerk Civil Petition
Status as of 3/15/2023 8:44 AM CST

Associated Case Party: Am iaLynnYoung-Trezvant

Name                  BarNumber Email                      TimestampSubmitted     Status

Amia Young-Trezvant               amiayoung@yahoo.com      3/14/2023 7:59:32 PM   SENT



Associated Case Party: Lone Star College

 Name           BarNumber Email                       TimestampSubmitted Status

 Sonia CLopez              sonia.lopez@lonestar.edu   3/14/2023 7:59:32 PM   SENT
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